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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 JONATHAN MANN and BRIAN L. FRYE,

                                Plaintiffs,

        v.                                                    Case No. 24-CV-01881

 SECURITIES AND EXCHANGE                                      JUDGE GUIDRY
 COMMISSION, ERIC I. BUSTILLO, GARY
 GENSLER, CAROLINE A. CRENSHAW,                               MAG. ROBY
 JAIME E. LIZÁRRAGA, HESTER M. PEIRCE,
 and MARK T. UYEDA, in their official
 capacities,

                                Defendants.


                           DEFENDANTS’ MOTION TO DISMISS

       Defendants Securities and Exchange Commission, Gary Gensler, Caroline A. Crenshaw,

Jaime E. Lizárraga, Hester M. Peirce, Mark T. Uyeda, and Eric I. Bustillo (collectively, the “SEC”)

respectfully move this Court for an order dismissing Plaintiffs’ request for a declaratory judgment

pursuant to Federal Rule of Civil Procedure 12(b)(1). As explained in the memorandum of law

filed in support of this Motion, the Court should dismiss this case for lack of subject matter

jurisdiction because (i) sovereign immunity bars Plaintiffs’ lawsuit, and (ii) Plaintiffs’ complaint

does not present a justiciable case or controversy.
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Dated: October 28, 2024

                                       Respectfully submitted,


                                       /s/ Peter Bryan Moores
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                                       Exchange Commission, Eric I. Bustillo, Gary
                                       Gensler, Caroline A. Crenshaw, Jaime E.
                                       Lizárraga, Hester M. Peirce, and Mark T.
                                       Uyeda




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